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11                           UNITED STATES DISTRICT COURT
12                       CENTRAL DISTRICT OF CALIFORNIA
13                                WESTERN DIVISION
14
15   UNITED STATES OF AMERICA,                Case No. 2:22-cr-00482-GW
16              Plaintiff,                    LETTERS IN SUPPORT OF JERRY
                                              NEHL BOYLAN’S SENTENCING
17        v.                                  POSITION
18   JERRY NEHL BOYLAN,
19              Defendant.
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 Case 2:22-cr-00482-GW Document 436 Filed 05/01/24 Page 2 of 6 Page ID #:7981




 1         Jerry Nehl Boylan, by and through the undersigned, hereby submits two
 2   additional sentencing letters in support of his Sentencing Position. The defense submits
 3   these letters as Exhibits 34 and 35.
 4
 5                                            Respectfully submitted,
 6                                            CUAUHTEMOC ORTEGA
                                              Federal Public Defender
 7
 8   DATED: May 1, 2024                     By /s/ Julia Deixler
 9                                            GABRIELA RIVERA
                                              JULIA DEIXLER
10                                            JOSHUA D. WEISS
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11                                            Attorneys for JERRY NEHL BOYLAN

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              EXHIBIT 34
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              EXHIBIT 35
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Your Honor,

I worked as a part time deckhand, galley assistant, chef, and additional operator for Truth Aquatics from
1979-1984 and then did some more relief work in 1988-90. I remember Jerry Boylan as one of the
company's most reliable and responsible captains.

Many years have passed since then. Yet Jerry has safely taken thousands of people out to the Channel
Islands for the company. He has always been an attentive captain, calm, thoughtful, and a leader by
example to his crew-putting safety first, and offering the passengers the best diving experience
possible. I remember him as gentle, reflective, and a man who paid attention to the details, the little
things that make a difference, like checking in with each passenger, making sure their time on the boat
was the best it could be.

The accident that happened on Labor Day of 2019 was an absolute tragedy. The worst possible
circumstances created a fire at sea that took all those sleeping below deck. If a captain of Jerry's
caliber and experience could not save the passengers, no one could. That anyone survived is a
miracle.

Jerry is a kind, thoughtful and responsible individual. And to have to relive that night and every day after
is a punishment for Sisyphus. How Jerry is surviving the horror over and over will keep Jerry in prison in
his mind for the rest of his life. Of all of the boat captains I've ever met, none were as conscientious as
Jerry. Being who he is, he will never feel truly free from the memory, and the knowledge that he was the
captain, ultimately responsible, even if there was no way of fully preventing such an accident.

I understand that families and loved ones of those who perished are in anguish. Incarcerating the
captain won't bring them back. The boat was inspected by the Coast Guard every year since it was
built. It was scrupulously maintained. Yet it still caught fire and became an inferno in minutes.

When I heard about the accident that morning my heart broke. None of us will ever be the same. So
many people have had transcendent experiences on those beautiful boats in those incredible seas.
Jerry is a good man. He did his best and then some. There are always things in life we could do better.
Yet that night the negligence was trusting that what had been safe and successful for 30 years all of a
sudden wasn't

Thank you for your time and consideration.

Sincerely,



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Shannan Johnson
